           Case 1:17-cr-00198-LJO-SKO Document 295 Filed 11/30/18 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 KIMBERLY A. SANCHEZ
   JEFFREY A. SPIVAK
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8

 9                              IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                         CASE NOS. 1:17-CR-198-LJO
12
                                 Plaintiff,
13
                           v.                          STIPULATION FOR EXTENSION OF TIME TO
14                                                     RESPOND TO MOTIONS; GOOD CAUSE
     ILDELFONSO SOTO, AND
15   JESUS MELGAREJO,                                  DATE: February 4, 2018
                                                       TIME: 8:30 a.m.
16                                                     COURT: Hon. Lawrence J. O'Neill
                                 Defendants.
17

18

19                                             STIPULATION

20          1.     Defendant Ilfelfonso Soto (Soto) filed a motion to suppress on November 1, 2018 (ECF

21 #278).

22          2.     Defendant Jesus Melgarejo (Melgarejo) filed a motion to suppress on November 2, 2018

23 (ECF #281).

24          3.     The government’s current deadline to file oppositions to any motions in this case is

25 December 3, 2018.

26          4.     The government is in active plea negotiations with Defendant Soto. The government

27 extended a plea offer to Defendant Soto which was set to expire December 2, 2018. Given defense

28 counsel’s request, and active plea discussions, the government extended the plea offer deadline to

      STIPULATION REGARDING EXCLUDABLE TIME             1
      PERIODS UNDER SPEEDY TRIAL ACT
           Case 1:17-cr-00198-LJO-SKO Document 295 Filed 11/30/18 Page 2 of 3


 1 December 12, 2018.

 2          5.     Defendant Melgarejo signed a plea agreement which was filed on November 21, 2018.

 3 (ECF #292). His change of plea is set for December 3, 2018 at 8:30 am.

 4          6.     The government requests, and Defendant Soto does not oppose, that given the productive

 5 ongoing plea negotiations concerning Defendant Soto’s case, and the pending plea deadline of

 6 December 12, 2018 for that defendant, there is good cause to continue the government’s deadline to

 7 respond to Defendant Soto’s motion until after the expiration of the plea deadline.

 8          7.     The government requests, and Defendant Melgarejo does not oppose, that given the

 9 signed plea agreement filed, and the expectation the Defendant will plead guilty on December 3, 2018,

10 there is good cause to continue the government’s deadline to respond to Defendant Melgarejo’s motion

11 until after the change of plea hearing.

12          8.     The undersigned AUSA begins trial on December 12, 2018 before Judge Drozd in United

13 States v. Moreno-Ambriz (1:17-CR-180-DAD). The trial is expected to conclude by Friday, December

14 21, 2018.

15          9.     The government is requesting that the government’s current deadline to respond to

16 motions filed by Defendant Soto (ECF #278) and Defendant Melgarejo (ECF #281) be continued to

17 December 24, 2018.

18          IT IS SO STIPULATED.

19

20
     Dated: November 30, 2018                               MCGREGOR W. SCOTT
21                                                          United States Attorney
22
                                                            /s/ JEFFREY A. SPIVAK
23                                                          JEFFREY A. SPIVAK
                                                            Assistant United States Attorney
24

25
     Dated: November 30, 2018                               Michael Mitchell
26                                                          Michael Mitchell
                                                            Counsel for Defendant
27                                                          Ildelfonso Soto
                                                            (Authorized by phone 11/30/2018)
28

      STIPULATION REGARDING EXCLUDABLE TIME             2
      PERIODS UNDER SPEEDY TRIAL ACT
           Case 1:17-cr-00198-LJO-SKO Document 295 Filed 11/30/18 Page 3 of 3


 1    Dated: November 30, 2018                            /s/ John Meyer
                                                          John Meyer
 2                                                        Counsel for Defendant
                                                          Ildelfonso Soto
 3                                                        (Authorized by phone 11/30/2018)
 4

 5

 6
                                         FINDINGS AND ORDER
 7
            Finding Good Cause, the government’s deadline to respond to the motion filed by Defendant
 8
     Soto at ECF #278 and the motion filed by Defendant Melgarejo (ECF #281) is continued to December
 9
     24, 2018.
10

11 IT IS SO ORDERED.

12
        Dated:    November 30, 2018                       /s/ Lawrence J. O’Neill _____
13                                             UNITED STATES CHIEF DISTRICT JUDGE

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      STIPULATION REGARDING EXCLUDABLE TIME           3
      PERIODS UNDER SPEEDY TRIAL ACT
